        Case 1:20-cv-00293-MAC-ZJH                Document 14          Filed 06/22/20       Page 1 of 1 PageID #:
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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                            Northern District
                                             __________       of California
                                                          District of __________


                      Psara Energy, Ltd.                       )
                             Plaintiff                         )
                                v.                             )      Case No.     20-cv-04102
                    Space Shipping, Ltd.                       )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Psara Energy, Ltd.                                                                                           .


Date:          06/22/2020                                                              /s/Jonathan M. Chalos
                                                                                         Attorney’s signature


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